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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

_______________________________________
                                       )
IN RE: TERRORIST ATTACKS ON            ) Civil Action No. 03 MDL 1570 (GBD) (SN)
SEPTEMBER 11, 2001                     )
_______________________________________)

This document relates to: All Actions

                            MOTION TO WITHDRAW
                  BENJAMIN D. MARGO AS ATTORNEY OF RECORD

       PLEASE TAKE NOTICE that the undersigned moves this Court pursuant to Local Civil

Rule 1.4 to allow Benjamin D. Margo to withdraw as counsel of record for the Kingdom of

Saudi Arabia in the above-referenced action due to his departure from the law firm Kellogg,

Hansen, Todd, Figel & Frederick, P.L.L.C. Mr. Margo entered his appearance on January 10,

2018. See ECF No. 3860. I respectfully request that Benjamin D. Margo be removed from the

docket as counsel for the Kingdom of Saudi Arabia. All other counsel listed on the docket from

the law firm of Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C. will continue to represent

the Kingdom of Saudi Arabia in this matter.

       A proposed order is attached hereto.

                                              Respectfully submitted,



                                              /s/ Michael K. Kellogg
                                              Michael K. Kellogg
                                              KELLOGG, HANSEN, TODD,
                                                FIGEL & FREDERICK, P.L.L.C.
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                                              Washington, D.C. 20036
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March 13, 2019                                Counsel for the Kingdom of Saudi Arabia
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 13, 2019, I caused an electronic copy of the foregoing

Motion to Withdraw Benjamin D. Margo as Attorney of Record to be served electronically by

the Court’s Electronic Case Filing (ECF) System. It was filed on the MDL docket and the

dockets of all related cases in which the Kingdom of Saudi Arabia is a defendant and Benjamin

D. Margo has appeared as counsel.




                                                 /s/ Michael K. Kellogg
                                                 Michael K. Kellogg
